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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JEREMY LEVIN and DR . LUCILLE
LEVIN,

                     Plaintiffs and Interpleader   FILED UNDER SEAL
                     Counter-Claim Defendants,

         V.
                                                   Civ. No. 09- CV-5900 (RPP)
BANK OF NEW YORK, JP MORGAN
CHASE, and CITIBANK,
                                                   ANSWER BY PLAINTIFFS AND
                    Defendants, and                INTERPLEADER COUNTER-
                                                   CLAIM DEFENDANTS TO
SOCIETE GENERALE,                                  SOCIETE GENERALE'S
                                                   INTERPLEADER COMPLAINT
                    Defendant and Interpleader
                    Plaintiff,

          V.


JPMORGAN CHASE BANK, N.A.,

                    Defendant and Interpleader
                    Cross-Claim Defendant, and




                    Interpleader Third-Party
                    Defendants .




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         Plaintiffs and Interpleader Counter-Claim Defendants, Jeremy Levin and Dr .

Lucille Levin ("Levins" or "Plaintiffs"), hereby answer the Counter-Claim of Defendant

and Interpleader Plaintiff, Societe Generale ("SG" ) . I

          1.        The Levins deny that SG faces legitimate competing legal demands with

the respect to funds described in Exhibit D to the Levins' Complaint . Under the Foreign

Sovereign Immunities Act ("FSIA"), the Terrorism Risk Insurance Act ("TRIA") and

under applicable New York law, including CLPR 5225(b) the Levins have a priority to

the funds at issue . The funds at issue are Blocked Assets of terrorist entities, states and/or

agencies or instrumentalities of the Islamic Republic of Iran, and these funds have been

blocked by SG for over a year . No one has taken proper legal action to make a claim on

these blocked funds, despite the availability of such process either through the Office of

Foreign Asset Control ("OFAC") or the Courts because they either have no right to such

funds or have abandoned any claims to such funds due to satisfaction of their judgments

or otherwise . To the extent any allegation in this paragraph is not specifically admitted or

denied, it is hereby denied .

          2.        The Levins admit to the allegations contained in Paragraph 2 of the

Complaint and admit that this Court has jurisdiction . To the extent any allegation in this

paragraph is not specifically admitted or denied, it is hereby denied .




I In its interpleader complaint, SG refers to itself as Societe Generale . In its answer to
Plaintiffs' Complaint, SG refers to itself as Societe Generale in the body of the answer
but refers to itself as Societe Generale, SA in the caption .

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          3.        The Levins admit to the allegations contained in Paragraph 3 of the

Complaint and admit that venue is proper to this Court . To the extent any allegation in

this paragraph is not specifically admitted or denied, it is hereby denied .

          4.        The Levins admit to the allegations contained in Paragraph 4 insofar as they

are natural persons and United States citizens . To the extent any allegation in this

paragraph is not specifically admitted or denied, it is hereby denied .

          5.        The Levins admit that B             s an            Bank, with headquarters at

                                                                                   , and an

overseas office at

            and a SWIFT address of                . To the extent any allegation in this

paragraph is not specifically admitted or denied, it is hereby denied .

          6.        The Levins admit that              s an             Bank with headquarters at

                                                         nd an overseas office at

                                       . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

          7.        The Levins admit that                                         s a

governmental entity headquartered at

      . To the extent any allegation in this paragraph is not specifically admitted or denied,

it is hereby denied .

           8.       The Levins admit that                         a G         nk, is successor in

interest t                      , and has an overseas office of




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                       . To the extent any allegation in this paragraph is not specifically

admitted or denied, it is hereby denied .

          9.         The Levins admit that B               a Fr      ank, is the successor in

interest to                                    and has an overseas office a

                                    . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

           10 .      The Levins admit that JPMorgan Chase Bank, N .A. is a Delaware

corporation with a principal place of business at 270 Park Ave ., New York, New York

10017-2070 . To the extent any allegation in this paragraph is not specifically admitted or

denied, it is hereby denied .

           11 .      The Levins admit that the entities identified in paragraphs 5-10 may be

referred to by SG as the Wire Transfer Parties . To the extent any allegation in this

paragraph is not specifically admitted or denied, it is hereby denied .

           12 .      The Levins admit that SG holds two accounts                 and            -

that contain the proceeds of wire transfers that were blocked pursuant to Parts 539 and

540 of Title 31 of the Code of Federal Regulations and Executive Order 13382 (the "SG

Blocked Funds") . To the extent any allegation in this paragraph is not specifically

admitted or denied, it is hereby denied .

            13 .     The Levins deny that Account 8          ontains the proceeds of a wire

transfer from SG               ) on behalf o                for payment to JPMorgan Chase Bank,

N .A . (New York) for the account of                                    but admit that Account




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          2 contains the proceeds of a wire transfer from SG               on behalf of

         for payment to JPMorgan Chase Bank, N .A . (New York) for the account of

                                   . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

          14 .       The Levins deny that Account            contained                    as of June

30, 2009 but admit that, as of June 30, 2009, Account                  3 contained

          15 .       The Levins admit that Account            ontains the proceeds of a wire

transfer from SG                 on behalf of                      ) for payment to

                                       for the account of

The Levins admit that the transfer was initiated by                              a nuclear reactor

that is owned by                                               . To the extent any allegation in this

paragraph is not specifically admitted or denied, it is hereby denied .

          16 .       The Levins admit that, as of June 30, 2009, Account              contained

                   . To the extent any allegation in this paragraph is not specifically admitted or

denied, it is hereby denied .

          17 .       The Levins admit that they allege that they are entitled to the SG Blocked

Funds as judgment creditors of the Islamic Republic of Iran ("Iran") and agencies and /or

instrumentalities of Iran . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

2
  In an apparent typographical error, Paragraph # 13 of SG's Interpleader Complaint refers
to account          instead of account            .
3 In an apparent typographical error,  Paragraph #14 of SG's Interpleader Complaint refers
to account          instead of account



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         18 .      The Levins deny that the Wire Transfer Parties may have competing claims

to the SG Blocked Funds . The Levins have a clear priority to the SG Blocked Funds

pursuant to FSIA, TRIA and applicable New York law . To the extent any allegation in

this paragraph is not specifically admitted or denied, it is hereby denied .

         19.       Paragraph 19 of the Complaint states legal conclusions to which a

responsive pleading is not required . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

         20.       Paragraph 20 of the Complaint states legal conclusions to which a

responsive pleading is not required . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

         21 .      The Levins deny knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 22 of the Complaint . To the extent any

allegation in this paragraph is not specifically admitted or denied, it is hereby denied .

         22 .      The Levins repeat and reallege each of the foregoing responses and

allegations as if set forth fully herein . To the extent any allegation in this paragraph is

not specifically admitted or denied, it is hereby denied .

          23 .     The Levins deny that any of the Third-Party Defendants have claims

superior to their own with regards to the SG Blocked Funds . To the extent any allegation

in this paragraph is not specifically admitted or denied, it is hereby denied .

          24.      The Levins deny knowledge or information sufficient to form a belief that

SG is exposed to the risk of multiple and inconsistent liability with respect to the SG

Blocked funds, as the Levins have clear priority rights to the SG Blocked Funds pursuant


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to FSIA, TRIA and applicable New York law . To the extent any allegation in this

paragraph is not specifically admitted or denied, it is hereby denied .

          25 .      Paragraph 25 of the Complaint states legal conclusions to which a

responsive pleading is not required . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

          26 .      The Levins repeat and reallege each of the foregoing responses and

allegations as if set forth fully herein . To the extent any allegation in this paragraph is

not specifically admitted or denied, it is hereby denied .

          27 .      Paragraph 27 of the Complaint states legal conclusions to which a

responsive pleading is not required . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

          28.       Paragraph 28 of the Complaint states legal conclusions to which a

responsive pleading is not required . To the extent any allegation in this paragraph is not

specifically admitted or denied, it is hereby denied .

                                    AFFIRMATIVE DEFENSES

                                FIRST AFFIRMATIVE DEFENSE

                                       (Failure to State a Claim)

          29 .      For a first separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that the SG Counter-Complaint and each and

every purported cause of action therein fails to state facts sufficient to constitute a claim

or cause of action against the Levins . SG claims to be and is a stakeholder of funds


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blocked by OFAC to which the Levins claim a right under the FSIA, TRIA and New

York law for assistance in collecting a valid judgment, as victims of Iranian state

sponsored terrorism . There is no basis in law or fact for any counter- claim against the

Levins by SG, and such counter-claim is improper .

                                  SECOND AFFIRMATIVE DEFENSE

                                    (Res Judicata and Collateral Estoppel)

             30 .       For a second separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that SG is barred from recovery on its claims

by the doctrines of res judicata and/or collateral estoppel .



                                    THIRD AFFIRMATIVE DEFENSE

                                                   (Waiver)

              31 .      For a third separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that SG has waived any and all claims asserted

 in its Counter-Complaint.

                                   FOURTH AFFIRMATIVE DEFENSE

                                             (Failure to Mitigate)

              32 .      For a fourth separate and additional defense, the Levins, without admitting

 any liability whatsoever, and without admitting that SG has suffered or will suffer any




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injury, damage, or loss whatsoever, allege that SG failed to mitigate its damages, if any,

and any recovery or other relief is therefore barred or must be reduced accordingly .

                                 FIFTH AFFIRMATIVE DEFENSE

                                               (Estoppel)

          33 .       For a fifth separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that, based upon SG's conduct, omissions,

and/or representations, SG is estopped from recovering upon the claims set forth in the

Counter- Complaint .

                                 SIXTH AFFIRMATIVE DEFENSE

                                            (Unclean Hands)

           34 .      For a sixth separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that, to the extent SG seeks equitable relief,

SG's inequitable conduct constitutes unclean hands and therefore bars the granting of

relief to SG herein . SG and all the Wire Transfer Parties, in their dealing with the Islamic

Republic of Iran and its agencies and instrumentalities, have unclean hands .

                               SEVENTH AFFIRMATIVE DEFENSE

                                          (Unjust Enrichment)

           35 .      For a seventh separate and additional defense, the Levins, without

 admitting any liability whatsoever, and without admitting that SG has suffered or will




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suffer any injury, damage, or loss whatsoever, allege that SG is barred from recovery on

its claims by the doctrine of unjust enrichment .

                                 EIGHT AFFIRMATIVE DEFENSE

                                          (Statute of Limitations)

           36.        For a eight separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that SG's claims are barred by all applicable

statutes of limitations .

                                  NINTH AFFIRMATIVE DEFENSE

                                                  (Laches)

           37 .       For a ninth separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that SG waited an unreasonable period of time

before asserting its claims, if any, against the Levins and is barred from asserting such

claims under the doctrine of laches .

                                  TENTH AFFIRMATIVE DEFENSE

                                            (Lack of Damages)

            38.       For a tenth separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that SG has not suffered and/or will not suffer

 any damages as a result of any actions taken by the Levins, and SG is thus barred from

 asserting any claim against the Levins .


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                              ELEVENTH AFFIRMATIVE DEFENSE

                                        (Speculative Damages)

           39 .      For an eleventh separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that SG is barred from any recovery

against the Levins because the alleged damages are speculative .

                              TWELFTH AFFIRMATIVE DEFENSE

                                             (Other Causes)

           40 .      For a twelfth separate and additional defense, the Levins, without admitting

any liability whatsoever, and without admitting that SG has suffered or will suffer any

injury, damage, or loss whatsoever, allege that any damages SG did suffer were caused

by independent, intervening and/or superseding events beyond the control, and unrelated

to any conduct, of the Levins .

                            THIRTEENTH AFFIRMATIVE DEFENSE

                                            (In Pari Delicto)

           41 .      For a thirteenth separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that SG's claims are barred in whole

or in part as a result of the fault or conduct of SG .




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                           FOURTEENTH AFFIRMATIVE DEFENSE

                                        (Assumption of Risk)

         42.        For a fourteenth separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that SG had full knowledge of all

the risks associated with the transactions in question, and nevertheless, voluntarily and

with full appreciation of the risks involved and the magnitude of those risks, assumed

those risks of damage to itself.

                             FIFTEENTH AFFIRMATIVE DEFENSE

                                                (Offset)

          43 .      For a fifteenth separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that to the extent SG has or will

receive any monies from any other person or entity relating to the subject matter of this

action, any amount found owing to the SG should be reduced or offset accordingly .

                             SIXTEENTH AFFIRMATIVE DEFENSE

          44 .      For a sixteenth separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that no holder of any judgment

against Iran or any other entity has a priority or valid claim against the blocked assets set

forth in Exhibit D to plaintiffs' complaint as no such judgment holder, if any, has

complied with the requirements of federal and state law, including TRIA, FSIA, or CLPR


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5225(b), among others, and and any writs of execution, restraining notices, notices of

pendency, liens, and/or other process or documents that purport to relate to the block

assets claimed by the Levins are void as a matter of law for failure to comply with the

proper statutory requirements .

                           SEVENTEENTH AFFIRMATIVE DEFENSE

          45 .       For a seventeenth separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that the United States Government

has no claim on any of the assets it has blocked through OFAC, Executive Order, or any

other legal process, as the blocked assets are specifically available for the collection of

the Levins' judgment as victims of terrorism under TRIA, and other controlling statutes .

See Weininger v . Castro, 462 F .Supp .2d 457 (S .D.N.Y . 2006) ; see also Weinstein v.

The Islamic Republic of Iran, 624 F .Supp .2d 272 (2009) ; see also Rux v . ABN-AMRO

Bank, N. V., No . 08 Civ . 6588 (AKH)(S .D .N .Y. April 14, 2009's JUDGMENT AND ORDER

DIRECTING TURNOVER OF FUNDS              TO   PETITIONER AND DISCHARGE OF RESPONDENTS) .

                            EIGTHTEENTH AFFIRMATIVE DEFENSE

           46 .      For a eighteenth separate and additional defense, the Levins, without

admitting any liability whatsoever, and without admitting that SG has suffered or will

suffer any injury, damage, or loss whatsoever, allege that neither SG nor any of the

parties related to the funds listed on Exhibit D of plaintiffs' complaint have any legal

claim of ownership to the funds in Exhibit D because blocked assets of any agency or

instrumentality of Iran including Wire Transfer funds or electronic fund transfers are


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specifically subject to collection of judgments by victims of terrorism notwithstanding

any other law to the contrary. See, e .g . TRIA, Weinstein v. The Islamic Republic of Iran,

624 F .Supp .2d 272 (2009) .

                                   RESERVATION OF RIGHTS

          The Levins reserve their rights to supplement their answer and affirmative

defenses with additional information that becomes available or apparent during the

course of investigation, preparation, or discovery and to amend its pleading accordingly .

           WHEREFORE, having fully answered the Complaint and asserted affirmative

defenses thereto, the Levins respectfully request that this Court enter an order :

                     i)     dismissing this Counter Claim Complaint as to the Levins in its

entirety with prejudice ;

                     ii)    declaring that the Levins, under TRIA, FSIA and applicable New

York law, have an immediate right to the SG Blocked Funds ;

                     iii)   declaring that the third-party defendants are not indispensable parties

and/or do not have the right to notice of these proceedings and any opportunity to be

heard ;



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                    iv)   requiring SG to convey, assign, and direct any pay all the SG

Blocked Funds including those set forth in Exhibit D, including any accrued interest in

the accounts, to the Levins ;

                    v)    awarding the Levins costs and attorneys' fees herein incurred ; and

                    vi)   granting further and other relief that the Court deems fair and just .



Dated : January 21, 2010                        HOWARTH & SMITH


                                                                            401,

                                                           Smith
                                                      est Sixth Street, Suite 728
                                                    Ang les, California 90014
                                                        (213) 955-9400

                                                Attorney for Plaintiffs and Interpleader
                                                Counter-Claim Defendants




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                                      PROOF OF SERVICE
 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
        I am employed in the County of Los Angeles, State of California . I am over the
 age of 18 and not a party to the within action ; my business address is 523 W . Sixth Street,
 Suite 728, Los Angeles, California 90014 .
            On January 21, 2010, I served the foregoing document described as :
         ANSWER BY PLAINTIFFS AND INTERPLEADER COUNTER-CLAIM
    DEFENDANTS TO SOCIETE GENERALE'S INTERPLEADER COMPLAINT
on interested parties in this action by placing a true and correct copy thereof enclosed in a
sealed envelope addressed as follows :

LEVI LUBARSKY & FEIGENBAUM LLP                       DAVIS WRIGHT TREMAINE LLP
Howard B . Levi, Esq .                               Sharon L . Schneier, Esq .
J . Kelley Nevling, Jr ., Esq.                       Christopher J . Robinson, Esq .
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New York, NY 10036                                   New York, New York 10019

Attorneys for Defendants The Bank of New             Attorneys for Defendant Citibank, N .A.
York and JP Morgan Chase Bank, N .A.

MAYER BROWN LLP                                      Tara M. La Morte, Esq .
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1675 Broadway                                        86 Chambers St., 3rd Floor
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Attorneys for Defendant Societe Generale SA

                            cause suc ocumen to e transmitte via e-mai to t e e-mail
           address set forth above on this date before 5 :00 p .m.
[X]       (BY MAIL) I caused such envelope with postage thereon fully prepaid to be
          placed in the United States mail at Los Angeles, California .
[X]        (FEDERAL) I declare that I am employed in the office of a member of the bar of
           this court at whose direction the service was made .
           Executed on January 21, 2010 at Los Angeles, California .




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